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DISTRICT COURT OF THE UNITED STATES

EASTERN DISTRICT oF ARKANSAS APR 08 2019
JoNESBoR DlvlsloN
Case: 3:19-53 By:

    

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AMENDED _
DECLARATORY JUDGEMENT
and
COMPLA[NT
of
DEPRIVATION OF RIGHTS; CONSPIRACY AGA[NST RIGHTS

 

sakima iban salih el bey
Preamble Citizen of the United States

VS.

OFFICER Johnson West Memphis Police Department West Memphis, AR 72301
OFFICER McElroy West Memphis Police Department West Memphis, AR 72301

CITY OF WEST MEMPHIS POLICE DEPARTMENT Broadway West Memphis, AR 723()1
STATE OF ARKANSAS Asa Hutchinson State Capital Room 250 500 Woodlane Ave. Little Rock, AR 72201
Congress of Arkansas House of Representatives 500 Woodlane St. Suite 350 Little Rock, AR 72201-1089

Congress of Arkansas Senate 500 Woodlane St. Suite 320 Little Rock, AR 72201-1090

HEREIN Petitioner, Citizen of the United States Government not United States of America
Government; Preamble Citizen of the United States not United States of America requests to
obtain a “Declaratory Judgment” for the jurisdictional infringing, constitutional violations by
depriving of Civil Rights being complicit, conspiring against petitioner privileges & immunities,
need judicial review for the conflict of two state statutes, where the infringement, violation,
deprivation, and conspiracy of OFFICER’S, Johnson, McElroy of the West Memphis, AR police
department, who overstepped their jurisdiction to arrest and cite a Preamble Citizen of the United
States govemment, in violation of law.

STATEMENT
I have the “public record” that the organization has been “organized”, that in the Ofiice of the
Govemor of Arkansas that makes petitioner a “STATE AGENCY” and subj ect’s petitioner to the
jurisdiction of the “Ofiice of the Governor” “enterprise” ~ trust. There is no “registered agent”
associated with petitioner which puts petitioner “in” the jurisdiction of OFFICER’S Johnson and
'McElroy of the West Memphis Police department et al. Petitioner is a “Citizen of the United
States”, not United States of America - Agency. Also as a “nonresident owner of a foreign
license private passenger automobile” or “road machine” who was stopped, detained, and cited
without authority to do so. Who was traveling in his road machine and was stopped without

 

 

 

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proof of a “Crime”. There is no “organization” of a “public record” that would give defendant’s
authority, jurisdiction over sakima iban salih el bey who is not, never was or have been a so-
called “Sovereign Citizen”, “lost at sea”, “abandoned property”. And to make a glai_m of such
against sakima iban salih el bey subjects the CITY OF WEST MEMPHIS; STATE OF
ARKANSAS; CONGRESS OF ARKANSAS; District Attomey Office; West Memphis Police
Department; to civil suit in a competent court of law for jurisdictional violations. Petitioner was
injured in his person by illegal arrest and his properly having been towed by a 3’ party without
cause to pay $] 75 to retrieve it. Thejinal agency action to do this resulted in petitioner having a
crime committed against him in violation of Article 4 sec. 2 Constitution of the United States, in
that petitioner is in the jurisdiction of the United States, not United States of America. ijicer
Johnson took him and placed him in the Crittenden County jail and having to give a
bondswoman $155 to be released,' is entitled to judicial review, for a Declaratory Judgment and
Complaint for conspiracy against rights and deprivation against rights.]

CITY OF WEST MEMPHIS ARKANSAS

City of West Memphis is the respondent superior in charge of hiring and establishing hiring
procedures. Creating policy with requirements for persons to apply to become a City police
officer hereafter known as “City” is responsible by way of bond or insurance. City established a
custom for police officers to step outside of their appointed jurisdiction to go into a jurisdiction
superior to theirs and damage a Citizen of the United States not United States of America,
without authority, delegated order of authority, or permission. City is liable for damages whom
deprived and conspired against of petitioner to inflict the greatest degree of pain, suffering and a
long train of abuse because the City always does it this way.

LlABlLlTY OF STATE OF ARKANSAS

Asa Hutchinson is being mentioned in a nominal basis. Being he was not present at the time of
the criminal act. . ..nor participated in it but, he is the chief operating officer of the “state
agency”, that as the person in charge for the affairs of the State has set the tone for West
Memphis, AR to implement a brand of unlawful, illegal customs that are not Constitutional from
state congress. To implement procedures contrary to the Constitution of the United States who
are members of the “State Agency” of the trust created in the office of the Govemor. His actions
or behavior of not taking care that the rules, laws, of the State are carried out in compliance with
the Constitution of the United States. Not create a climate to adhere to a custom, or create a
policy that violates the article 4, sec 2 Constitutional “Privilege & lmmunity” guaranteed to
petitioner. By setting policy to allow a city, to use any unconstitutional means to create revenue
by any means necessary against anyone whether a citizen of the city, State, or United States of
America or not.

UNCONSTITUTIONAL ACTS OF ARKANSAS CONGRESS

l The legislature Senate of Arkansas and House of Representatives of Arkansas
hereafter known as “congress” deliberately created laws that are contrary to the

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Constitution of Arkansas and Constitution of United States. Congress knew or should
have known that there are 2 Constitutions created by the founders and 2 Declarations-
of-lndependence created by the founders too.

2 Congress wrote these unconstitutional laws to comply with the “State Agency”
created in the office of the Govemor called “STATE OF ARKANSAS” and from
there established other “State Agencies” called the birth certificate or Certificate of
Birth. However, the unconstitutional statute AR 27-16-303 and the Constitutional
statute AR 27-16-603(2) are contrary to each other where Congress both wrote these 2
statutes and are in violation for having or allowing or creating the custom for other
agents of Arkansas to enforce the unconstitutional statute against a person in the
jurisdiction of United States, not United States of America.

3 Congress is complicit with corruption in various agencies of Arkansas where they
created the false, fake, unconstitutional law; pass it on as policy to state agents to
enforce. Those agents as a custom enforced them against citizens in Arkansas State as
oppose to State of Arkansas. Also Citizens and other persons not within their
jurisdiction i.e. petitioner who is a Citizen of the United States not United States of
America.

4 Congress knew or should have known that to write laws contrary to the Constitution
of United States and Constitution of Arkansas State is detrimental to the commingling
of j urisdictions as listed in the Preamble of the Constitution of the United States. Also
the founders Congressional notes that are part of the official drafting of the
Constitution and Declaration which shows the intent of the founders. To create,
establish, instill and operate 2 separate jurisdictions; one with privileges & immunities
before such Congressional action of the founders.

5 Here now, the actions of defendants who knew or should have known, with a clear
absence of all jurisdictions infiltrated, infringed upon the Preamble Citizen, that was
forced arrested and subjected to jail, a false trial, and had the private property taken
from him being the steward or Director of the entity who is the owner and to pay
funds to retrieve the property of the owner of a road machine not belonging to
petitioner.

6 This deliberate action caused congress to be in violation of law, to be saboteurs of the
United States. To have been complicit with the enemies of the United States not
United States of America, to take down, destroy, violate and confiscate all traces of
Citizens of the United States, take control of the United States of America to bring
comfort to the enemies of the United States for the deep state, elite, criminal,
democrat-socialist-communist-new world order warrnongers who have handcuffed the
true Citizens of Arkansas State, United States, not State of Arkansas or United States
of America. Judges, Sheriffs, Govemors, Attomey’s, Banks, Govemment etc.

 

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DECLARATION

Petitioner has had his privileges & immunities infringed upon while traveling through the
jurisdiction of the “State Agencies” administrative municipal City of West Memphis, Arkansas
to obtain revenue illegally. Petitioner request lnjunctive & Prospective relief, by this complaint
& affidavit as witness of criminal activity in violation of Article 4, sec. 2 Constitution of the
United States, Arkansas law AR 27-16-603; 27-23-119, against OFFICERS Johnson, McElroy of
the West Memphis Police department lnflicting statutes that are unconstitutional to raise
revenue by any means necessary, against Citizens of the United States, outside of their
jurisdiction, was deliberate with indifference to the 2 jurisdictions, Constitution of the United
States, and Constitution of Arkansas.

DEPRIVING OF RIGHTS; CONSPIRACY OF RIGHTS

 

Officer Johnson prevented a Preamble Citizen of the United States, from the privileges and
immunities owned by him from the United States not United States of America, and a Citizen in »
the United States not United States of America, while traveling in his road machine where officer
Johnson, McElroy in the state agency - State of Arkansas conspired to prevent, by arrest,
intimidation,...Officer’s Johnson, McElroy after accepting or holding office of t_r_u§t1 - police
officer, from confidence given under the United States in United States of America. Officer’s
Johnson, McElroy injured him in his person or property on account of their lawful discharge of
the duties of their office, or while engaged in the lawful discharge thereof, or to injure petitioners
property so as to molest, interrupt, hinder, or impede him in the discharge of their official duties;
which petitioner was detained, interrupted by such deployment of duties.

Officer’s Johnson, McElroy, under color of statute, or ordinance, or regulation, or custom, or
usage, of StMOf Arkansas or Territory or the District of Columbia, subj ects, or causes to be
subj ected, a Preamble citizen of the United States within the jurisdiction thereof to the
deprivation of any rights, privileges, or immunities secured by Article 4, sec. 2 the Constitution
and laws of United States, shall be liable to the party injured in an action at law, suit in equity, or
other proper proceeding for redress. Petitioner sought declaratory judgment and injunctive relief
but it was denied or violated being unavailable For the purposes of this section, any Act of
Congress on the delegated authority of defendants to conspire, infringe was the basis for
defendants to act in the manner they did.

Petitioner does not own a vehicle, or any property that could be subject to defendants to arrest,

take or confiscate by some legal but not lawful means. Point in fact is that road machine or
vehicle is owned by a private foundation.

DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF

 

Petitioner herein seeks a Declaratory Judgment and lnjunctive Relief to the acts, behavior of
Officer’s Johnson, McElroy, who is not entitled to llth amendment immunity because the
actions are local in nature. Congress of Arkansas, STATE OF ARKANSAS, City of West

 

 

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Memphis, is not entitled to sovereign immunity because of the purchase of insurance in bond and
otherwise.

l Article 4, section 2 Constitution of the United States provides petitioner with a privilege &
immunity, to be free from jurisdictional infringement and violations where defendants created
legislation to damage petitioner. Deprive him of his immunity. Conspire against him for being in
the Jurisdiction of the United States to be free to ingress and regress without attachment of laches
or “State Agency” contracts.

2 CONGRESS OF ARKANSAS has delegated its written law implementation to, CITY OF
WEST MEMPHIS POLICE DEPARTMENT. STATE OF ARKANSAS who has delegated its
statutory responsibility for, final policy making authority regarding the provision of not
committing crime against Article 4, sec. 2 Constitution of the United States to Officers Johnson,
McElroy.

3 CITY WEST MEMPHIS POLICE DEPARTMENT has delegated its operations to Officers’
Johnson, McElroy STATE OF ARKANSAS - Governor, who has delegated final policy making
authority CONGRESS OF ARKANSAS.

4 The policy making decisions of STATE OF ARKANSAS with regard to the provision of
infringing, arresting, and violating the jurisdiction of United States not United States of America
against a Preamble Citizen are within the jurisdictional bounds of STATE OF ARKANSAS,
Crittenden County and are imputed to West Memphis Police Department.

5 The policy making decisions mentioned of WEST MEMPHIS POLICE DEPARTMENT
including those imputed to officer’s Johnson, McElroy by WEST MEMPHIS POLICE
DEPARTMENT are imputed to Crittenden County by officer’s Johnson, McElroy, are imputed
and serve to bind both, Officer’s Johnson, McElroy to the jurisdiction of Crittenden County
Court directly or indirectly in violation of ARA 7-1-103; AR5-53-l3 l.

6 lt is the official policy of STATE OF ARKANSAS and WEST MEMPHIS POLICE
DEPARTMENT to infringe the jurisdiction of United States not United States of America and
cause irreparable harm by arresting a Preamble Citizen outside of their jurisdiction where they
knew or should have known that there are two jurisdictions; United States and United States of
America, per the Preamble of the Constitution of the United States.

7 The manner in which CITY OF WEST MEMPHIS POLICE DEPARTMENT officers are
trained, including the design and implementation of training programs and the follow-up
supervision of trainees, is a matter of policy.

8 These actions committed have become widespread to recognize the quality of custom or usage
in WEST MEMPHIS POLICE Department. The official duty of final policy makers of WEST
MEMPHIS POLICE DEPARTMENT inter alia, to be informed of custom or usage and, such
policy makers CONGRESS OF ARKANSAS too who had manifest opportunities to inform
WEST MEMPHIS POLICE DEPARTMENT and STATE OF ARKANSAS of the potential

 

 

 

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actions to not violate the jurisdiction or that there are 2 jurisdictions per Constitution of United
States, in this case caused irreparable harm to petitioner.

9 The actual or constructive knowledge of the existence of this custom or usage was intentionally
with deliberate indifference, failed to correct or stop the practices and thus condoned it. This
condonement may fairly be attributed in part to STATE OF ARKANSAS and WEST MEMPHIS
POLICE DEPARTMENT and part to CONGRESS OF ARKANSAS.

10 The actions committed deprived petitioner of his Constitutional Privileges and lmmunities to
adequate allowance of Constitutional privilege to not be seized anywhere without law is
furtherance of an official policy, custom or usage of WEST MEMPHIS POLICE
DEPARTMENT, and STATE OF ARKANSAS, authorized by CONGRESS OF ARAKNASAS
and such official policy, custom, or usage was direct and proximate cause of such deprivation,

11 WEST MEMPHIS POLICE DEPARTMENT, STATE OF ARKANSAS, Officers’ Johnson,
McElroy are not entitled to qualified, sovereign immunity because of the purchase of “Bond
lnsurance”.

12 Officers’ Johnson, McElroy in their official capacities are each a person within the meaning
of 42 USC 1983.

13 Such conduct poses a pervasive and unreasonable risk of Constitutional violations and injury-
such are the violations here; to petitioner. CONGRESS OF ARKANSAS wrote unconstitutional
laws and submits them to the STATE OF ARKANSAS for implementation to the WEST
MEMPHIS POLICE DEPARTMENT for enforcement against a Citizen of the United States, not
Citizen of the United States of America, who is out of their jurisdiction

14 The deliberate indifference to, or tacit authorization of, such unconstitutional conduct shows
the response of actual or constructive knowledge of this pervasive and unreasonable risk of
Constitutional violation and injury to petitioner.

15 A reasonable person in the position of defendants would have known that his or her actions
violated petitioner’s Article 4, section 2 Constitutional Privileges and immunities along with
certain state statutory provisions. Also, that Congress of Arkansas failed with deliberate
disregard, indifference, to not inform agents of Arkansas that there are 2 Constitutions, 2
jurisdictions where persons of the United States are exempt from the jurisdiction of United States
of America.

16 Treble damages are entitled to be given to petitioner for such wrong or injury pursuant to
Arkansas Law.

, 17 Defendants’ conduct was willful or wanton in that it constituted shock to the conscious and
intentional disregard of, and indifference to, the privileges and immunities, of petitioner, which
said defendants knew, or should have known, was reasonably likely to result in inj ury, damage,
or IRREPARABLE harm.

 

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JURISDICTIONAL VIOLATION BY WEST MEMPHIS POLICE OFFICERS
Questions Presented:

1 Does the Constitution of Arkansas make provision to deny a person that is exempt from a
‘driver’s license’ in Arkansas who is in compliance with state code i.e. AR 27-16-603(2); AR
27-23-119 being “exempt”?

2 Does the Constitution of Arkansas make provision for a police Officer to ignore state law
that verifies petitioner to be exempt under AR 27-16-603 and AR 27-23-119; where in his
immediate possession he had a “valid driver’s license” from his home state, United States not
United States of America while traveling in his road machine, pursuant to the Preamble of the
Constitution of the United States inter alia?

3 Why did the Legislature of Arkansas create statutes for Officer’s Johnson, McElroy, who
were given the valid driver’s license of petitioner where they ignored it in violation of AR 27-16-
603; AR 27-23-119 and ignored the identification as to being a “Preamble Citizen” who had a
crime committed against him for complying with AR 27-23-119 inter alia. Officer Johnson has
no evidence of such authority, nor does he have a delegated order of authority showing
permission for violation of infringement of Article 4, sec. 2 Constitution of the United States. He
charged petitioner with an Unconstitutional statute i.e. AR 27-16-603; inter alia; where if
petitioner was subject to Arkansas state code; AR 27-23-119 exempts petitioner who was
traveling in his road machine that states “Any person while operating or driving any road
machine ......... temporarily operated or moved on a highway. . .”, such is the petitioner under AR
27-16-603 in that the legislature made provisions for officer’s Johnson, McElroy to use an
unconstitutional statute against petitioner in violation of the Constitution of Arkansas Article 1,
sec 1-29 also federal regulation: Article 4, sec. 2 Constitution of the United States where they are
liable and in violation of Article 4, sec. 2 of the Constitution of the United States & Constitution
of Arkansas Article 1 section(s) 1-29?

4 Does the legislature have authority to ignore the Constitution of the United States, and
write laws that are unconstitutional for state actors to charge a Preamble Citizen of the United
States not the United States of America as listed in the Preamble? The Constitution of the United
States does not delegate to officer Johnson et al, of the West Memphis Police department to
infringe, violate, conspire and deprive petitioner’s privileges & immunities?

5 AR Code 27-16-3()3 is un-Constitutional and contrary to AR 27-23-119, AR 27-16-

603 (2) where if petitioner was in the defendant’s jurisdiction, while traveling in his road
machine, and in the jurisdiction of United States not United States of America AR 27-16-603,
AR 27-23-119 would apply to him. Road Machine is not defined in the code and thus applies to
petitioner.

6 Does the Constitution of Arkansas and United States make provisions for defendants to
arrest a Preamble Citizen of the United States not United States of America [who did not drive,
has never driven, or does anything in the STA TE OF ARKANSAS.]

 

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JUDICIAL REVIEW

Petitioner shows the agency’s final decision was made at the point of arrest, by the legal
determination of the agency, “police department” representatives of West Memphis
police department inter alia.

State statutes used to charge petitioner out of the jurisdiction of Officer’s Johnson,
McElroy were enforced from an “unconstitutional act of congress” or “unconstitutionality
of state statute” which was established by State legislators which is unconstitutional
Petitioner’s jurisdiction protects him and also the Constitution Article 4, sec. 2.
Defendants have used unconstitutional legislation in Arkansas to enforce unconstitutional
State Statutes that create harm, inj ury, and damage to Petitioners’, privileges and
immunities v

This action was perpetrated by officer’s Johnson, McElroy et al, enforcing action from
legislation that is unconstitutional where 'federal jurisdiction', has not allowed this
unconstitutional act of State statutes or STATE “unconstitutional act of Congress”, that
there exists 2 Constitutions of the United States and 2 Declarations of lndependence.
These facts of law, verify petitioners position. lt also shows the intent of the founders to
have 2 jurisdictions where in the Arkansas code if petitioner was subject to it shows and
verifies there are 2 statutes. One showing penalty for a suspended driver’s license AR 27-
16-303, where petitioner never had nor applied for a Driver’s License [evidence by DMV
ofS.C. who if were in that jurisdiction was in compliance with SC 56-3-120(2),' who was
traveling in his road machine of the type that could be subject to license and registration
but was not because he incidentally operated or moved upon a highway]. A statute shows
you don’t need a driver’s license AR-27-16-603, AR 27-23-119 where these comply with
the Constitution of United States not Constitution of the United States of America.

Herein petitioner verifies the jurisdiction he is in was violated and he infringed upon
without authority, jurisdiction and a clear absence of all jurisdiction requests that a

“j udicial review” be sought to examine the aforementioned statutes. Defendants’
condoning of jurisdictional violations from clearly established law, Article 4, sec. 2
Constitution, inter alia that the acts of officers inflicted a “crime” against petitioner where
there exists a clear absence of all jurisdictions, regarding defendants to behave in this
manner.

JURISDICTION lN THE NATURE OF CONSTITUTION

2 Constitutions: September 8th 1787 Representative McHenry of Maryland notes
“the printed paper” (the Constitution) was referred to a committee to revise and
rearrange. The revised draft was reported by the Committee of “Stile and arrangement”
on September 12th 1787 and, according to the official Journal, printed copies thereof
were ordered furnished to the members of the convention of the 13 colonies. The 3rd and
final draft of the Constitution was ordered printed by the Convention on September 15th
1787. Also that day, McHenry wrote in his notes that 500 copies be struck-printed,

 

 

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September 17th 1787 he further noted “members to be provided with printed copies.”
These printed copies were six-page broadsides bearing the imprint of Dunlap
&Claypoole, one which, authenticated by representative J ames Madison, has been used
as “copy” for the present reprint. Then it was ordered to be engrossed. The engrossed
copy was signed by the Members in Convention on September 17th 1787. The original
and engrossed copy is identical except for the minor interlineations having been made in
the engrossed copy to conform to the original printed text of ‘the paper’ - Constitution of
the United States.

2 Declarations ofIndependence

The only names of the first printed copy of the Declaration of lndependence, which is
attached to the original manuscript Journals of Congress as a part of the official record of
proceedings on July 4th 1776, are printed as follows:

“Signed by Order and in Behalf of the Congress, John Hancock, President.
Attest, Charles Thomson, Secretary.”

The manuscript Joumal of July 4th 1776 does not contain any other statement in
regard to signing the Declaration at that time or the names of the Members present and
agreeing to its adoption. The official Declaration sent to the state assemblies - 13, and
General Washington for proclamation, by order of Congress - United States in Congress
Assembled, not the United States of America in Congress for it was not set up yet.
Where, likewise printed thereon an authentication only by Hancock and Thomson’s’
names were written. Their names are signed to the first-original publication of the
Declaration, on July 6th, 1776. As printed in the evening paper the ‘Pennsylvania
Evening Post of Philadelphia which did not include any other signatures July 19th 1776,
Congress adopted the following resolution: “Resolved, That the Declaration passed on
July 4th 1776, be fairly engrossed on parchment with the title and stile of ‘The
unanimous Declaration of the thirteen united States of America’ and that the same, when
engrossed, be signed by every member of Congress.”

The Journal of August 2nd 1776, says: “The declaration of independence being
engrossed and compared at the table was signed by the members.”

Summg

The official Constitution was completed August 4th 1787 before September 8th 1787
where it was given to a committee to be revised and rearranged on that day. That new
version completed September 12th 1787 was given to the members to be signed by the
convention; the 2nd Constitution. [See pages 48, 49, 96th Congress, lst session House
Document No. 96-143] 2 Constitutions, original for sakima iban salih el bey and the
engrossed copy for officer Johnson, McElroy representative for STATE OF ARKANSAS
et al.

 

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One Citizen having privileges and immunities already Petitioner and the other citizen
STATE OF ARKANSAS et al now entitled to privileges and immunities as laid out in
Article 4 sec. 2 Constitution of the United States.

The original Declaration was completed August 4th 1776, entitled: “A Declaration” [see
page l 96th Congress, lst session House Document No. 96-143]. The original was only
signed by John Hancock President, Charles Thomson Secretary August 4th 1776; no
other members present at the Convention signed it - A Declaration. The engrossed copy
July 19th 1776, after July 4th 1776, was “Resolved” to be ‘titled and stiled’ ‘The
unanimous Declaration of the thirteen united States of America’ that document was
engrossed and that one was signed by members of the convention that were present; 2
Declarations, one for sakima iban salih el bey the other for officer’s Johnson, McElroy
representative for STATE OF ARKANSAS et al.

REOUEST FOR DECLARATION AS A NATIONAL OF THE UNITED STATES

This controversy within the jurisdiction, as a civil action, where the District Court of the United
States, not United States District Court of United States of America from this pleading
declares Article 4, sec.2 privileges and immunities which were taken by defendants
actions, and behavior without cause, law, or delegated order of authority.

Petitioner claims jurisdiction from 8 USC 1503(a). . .being a National, and was denied such
privilege, petitioner herein requests, and makes a “Declaration” from this declaring, and
seeks a J udicial declaration as being a National of the United States, out of the
jurisdiction of United States of America and in the jurisdiction of the United States.

CLOSING

1 Petitioner requests declaratory judgment on the issues expressed; list the name of sakima
iban salih el bey in the system of law enforcement is out of their jurisdiction inter alia.

2 Petitioner seeks damages for violations of 42 USC 1983 and 1985 because defendants fail
to state a claim upon which relief can be granted.

3 Remove officers Johnson, and McElroy from the police force of West Memphis, AR.

This 31st day of March 2019.

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sakima ban salih el bey

 

 

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Acknowledgment

State Tennessee

County Shelby

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SUBSCRIBED AND SWORN TO before me § \.UZ-\L» if N\ My Public by
sakima iban salih el bey, known to me or proven to me to be the real man signing this document

this 3 ad day of Aou\, , 20 \q
WITNESS my hand and official seal.

.M.M

NOTARY PUBLIC

 

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